      Case 1:13-cv-00100-JL Document 3 Filed 03/28/13 Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF NEW HAMPSHIRE

ROBERT BLIER,                 )
                              )
         Plaintiff            )
                              )
     v.                       ) Case No.: 1:13-cv-00100
                              )
LTD FINANCIAL SERVICES, L.P., )
                              )
         Defendant            )
                              )
                              )
                              )

               NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff

voluntarily dismisses his Complaint with prejudice.




Dated: March 28, 2013                 BY:/s/Angela K. Troccoli
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